Case 3:12-cv-07758-ZNQ-JBD      Document 473-1   Filed 08/12/24   Page 1 of 64 PageID:
                                       29356



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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                                          :
  UNITED STATES OF AMERICA,               :
  et al., ex rel. JESSICA PENELOW         :
  and CHRISTINE BRANCACCIO,               : Case No. 12-7758 (ZNQ)(JBD)
                                          :
              Plaintiffs,   :
                                          : ORAL ARGUMENT
              v.     :                    : REQUESTED
                                          :
  JANSSEN PRODUCTS, LP,           :       :
                                          :
              Defendant.                  :
                                          :

  DEFENDANTS’ MOTION AND MEMORANDUM OF LAW IN SUPPORT
       OF MOTION FOR JUDGMENT AS A MATTER OF LAW
Case 3:12-cv-07758-ZNQ-JBD                Document 473-1              Filed 08/12/24           Page 2 of 64 PageID:
                                                 29357




                                        TABLE OF CONTENTS

                                                                                                                  Page

 TABLE OF AUTHORITIES ................................................................................ iii

 INTRODUCTION ..................................................................................................1

 BACKGROUND ....................................................................................................4

 STANDARD ..........................................................................................................5

 ARGUMENT..........................................................................................................7

 I.      Relators Failed To Prove Their FCA Claims. ................................................7

         A.       Relators Failed To Prove Causation. ...................................................8

                  1.       Relators Failed To Prove But-For Causation. ............................8

                  2.       Relators Failed To Prove Proximate Causation. ...................... 15

         B.       Relators Failed To Prove Materiality. ............................................... 17

         C.       Relators Failed To Prove Falsity. ...................................................... 23

                  1.       Relators Failed To Prove That The Alleged Uses Of
                           Prezista And Intelence Were Not “Medically Accepted
                           Indications.”............................................................................ 24

                           (a)      Use Of Prezista With Lipid Conditions Is A
                                    Medically Accepted Indication. .................................... 26

                           (b)      The Three Other Uses Of Prezista And Intelence
                                    Are Also Medically Accepted Indications. .................... 29

                  2.       Relators Failed To Prove Any Prescription Of Prezista Or
                           Intelence Was Not “Reasonable And Necessary.” ................... 33

                  3.       Relators In Any Event Failed To Identify Any Individual
                           Claim. ..................................................................................... 37



                                                           i
Case 3:12-cv-07758-ZNQ-JBD                 Document 473-1              Filed 08/12/24          Page 3 of 64 PageID:
                                                  29358



 II.     Relators Failed To Prove Their State-Law Claims. ..................................... 38

         A.       Relators Failed To Establish That Any Medicaid Or ADAP
                  Program Would Deny Coverage Of The Prescriptions At Issue. ....... 38

         B.       Relators Failed To Prove Their State-Law Claims For Several
                  Additional Reasons. .......................................................................... 42

 III.    The Evidence Does Not Support The Verdict On The Number Of
         Claims Or Damages. ................................................................................... 43

         A.       Relators Failed To Prove That The Government Lost The
                  Benefit Of Its Bargain. ...................................................................... 43

         B.       Relators’ Damages Model Is Not Substantial Evidence Because
                  Its Assumptions Were Disproven By Relators’ Own Witnesses. ....... 46

         C.       The Jury’s Finding On The Number Of False Claims And The
                  Amount Of Damages Was Arbitrary And Unsupported. ................... 47

         D.       At A Minimum, The Jury’s Findings On Federal Damages And
                  The Number Of Claims Cannot Be Sustained. .................................. 49

 IV.     Relators’ Claims Also Fail Because They Are Barred For Multiple
         Reasons....................................................................................................... 51

         A.       The FCA’s Government-Action And Public-Disclosure Bars
                  Foreclose Relators’ Claims. .............................................................. 51

         B.       Relators’ Claims Are Constitutionally Barred. .................................. 54

 CONCLUSION .................................................................................................... 55




                                                           ii
Case 3:12-cv-07758-ZNQ-JBD               Document 473-1            Filed 08/12/24         Page 4 of 64 PageID:
                                                29359



                                    TABLE OF AUTHORITIES

 In re Actimmune Marketing Litigation,
     614 F. Supp. 2d 1037 (N.D. Cal. 2009) ............................................................14

 In re Avandia Marketing, Sales Practices and Products Liability Litigation,
     804 F.3d 633 (3d Cir. 2015) .............................................................................17

 Carson v. Select Rehabilitation, Inc.,
   No. 15-5708, 2023 WL 5339605 (E.D. Pa. Aug. 18, 2023) ..............................42

 Coleman Motor Co. v Chrysler Corp.,
   525 F.2d 1338 (3d Cir. 1975) ...........................................................................47

 Consumers’ Research, Cause Based Commerce, Inc. v. Federal Communications
   Commission,
   88 F.4th 917 (11th Cir. 2023) ...........................................................................54

 Department of Transportation v. Association of American Railroads,
   575 U.S. 43 (2015) ...........................................................................................54

 Feit v. Great West Life and Annuity Insurance Co.,
    271 F. App’x 246 (3d Cir. 2008) ....................................................................... 5

 Gomez v. Allegheny Health Services, Inc.,
   71 F.3d 1079 (3d Cir. 1995) .............................................................................. 6

 Hemi Group, LLC v. City of New York,
   559 U.S. 1 (2010).............................................................................................16

 Holmes v. Securities Investor Protection Corp.,
   503 U.S. 258 (1992) .........................................................................................16

 Johnson v. Campbell,
    332 F.3d 199 (3d Cir. 2003) .............................................................................. 6

 Kingdomware Technologies, Inc. v. United States,
    579 U.S. 162 (2016) .........................................................................................34

 Layzer v. Leavitt,
    770 F. Supp. 2d 579 (S.D.N.Y. 2011) ..............................................................24



                                                        iii
Case 3:12-cv-07758-ZNQ-JBD                Document 473-1            Filed 08/12/24        Page 5 of 64 PageID:
                                                 29360



 Liberty International Underwriters Canada v. Scottsdale Insurance Co.,
    955 F. Supp. 2d 317 (D.N.J. 2013) .................................................................... 9

 Lightning Lube, Inc. v. Witco Corp.,
    4 F.3d 1153 (3d Cir. 1993) ................................................................................ 6

 Morrison Knudsen Corp. v. Firemen’s Fund Insurance Co.,
   175 F.3d 1221 (10th Cir. 1999) ........................................................................49

 Morrison v. Olson,
   487 U.S. 654 (1988) .........................................................................................54

 In re Neurontin Marketing and Sales Practices Litigation,
     712 F.3d 21 (1st Cir. 2013) ..............................................................................14

 Perkin-Elmer Corp. v. Computervision Corp.,
    732 F.2d 888 (Fed. Cir. 1984) ........................................................................... 7

 R.S.E., Inc. v. Pennsy Supply, Inc.,
    523 F. Supp. 954 (M.D. Pa. 1981) ............................................................. 47, 48

 Reeves v. Sanderson Plumbing Products, Inc.,
    530 U.S. 133 (2000) .......................................................................................... 6

 Reynolds v. University of Pennsylvania,
    747 F. Supp. 2d 522 (E.D. Pa. 2010) ................................................................. 5

 Rosario v. City of Union City Police Department,
   263 F. Supp. 2d 874 (D.N.J. 2003) .................................................................... 7

 Sidney Hillman Health Center of Rochester v. Abbott Laboratories,
    873 F.3d 574 (7th Cir. 2017) ................................................................ 15, 16, 17

 Sturgeon v. Pharmerica Corp.,
    438 F. Supp. 3d 246 (E.D. Pa. 2020) ................................................................. 9

 Union No. 420 Welfare Fund v. Philip Morris, Inc.,
   171 F.3d 912 (3d Cir. 1999) .............................................................................17

 United States v. Luce,
   873 F.3d 999 (7th Cir. 2012) ............................................................................15



                                                         iv
Case 3:12-cv-07758-ZNQ-JBD              Document 473-1           Filed 08/12/24        Page 6 of 64 PageID:
                                               29361



 United States ex rel. Banigan v. Organon USA Inc.,
   883 F. Supp. 2d 277 (D. Mass. 2012) ...............................................................42

 United States ex rel. Banigan v. PharMerica, Inc.,
   950 F.3d 134 (1st Cir. 2020) ............................................................................42

 United States ex rel. Bennett v. Biotronik, Inc.,
   876 F.3d 1011 (9th Cir. 2017) ..........................................................................51

 United States ex rel. Concilio De Salud Integral De Loiza, Inc. v. J.C. Remodeling,
   Inc.,
   962 F.3d 34 (1st Cir. 2020) ..............................................................................45

 United States ex rel. Davis v. District of Columbia,
   679 F.3d 832 (D.C. Cir. 2012) .........................................................................44

 United States ex rel. Feldman v. van Gorp,
   697 F.3d 78 (2d Cir. 2012) ...............................................................................45

 United States ex rel. Greenfield v. Medco Health Solutions, Inc.,
   880 F.3d 89 (3d Cir. 2018) ......................................................................... 23, 37

 United States ex rel. Keeler v. Eisai, Inc.,
   568 F. App’x 783 (11th Cir. 2014) ...................................................................11

 United States ex rel. Longhi v. Lithium Power Technologies, Inc.,
   575 F.3d 458 (5th Cir. 2009) ...................................................................... 44, 45

 United States ex rel. Maur v. Hage-Korban,
   981 F.3d 516 (6th Cir. 2020) .......................................................... 21, 22, 52, 53

 United States ex rel. Moore & Co., P.A. v. Majestic Blue Fisheries, LLC,
   812 F.3d 294 (3d Cir. 2016) .............................................................................53

 United States ex rel. Petratos v. Genentech Inc.,
   855 F.3d 481 (3d Cir. 2017) ......................................................................passim

 United States ex rel. Polansky v. Executive Health Resources, Inc.,
   196 F. Supp. 3d 477 (E.D. Pa. 2016) ................................................................42

 United States ex rel. Polansky v. Pfizer, Inc.,
   914 F. Supp. 2d 259 (E.D.N.Y. 2012) .......................................................passim


                                                       v
Case 3:12-cv-07758-ZNQ-JBD                 Document 473-1            Filed 08/12/24          Page 7 of 64 PageID:
                                                  29362



 United States ex rel. Polansky v. Pfizer,
   822 F.3d 613 (2d Cir. 2016) ....................................................................... 10, 11

 United States ex rel. Schieber v. Holy Redeemer Healthcare Systems, Inc.,
   No. 19-12675, 2024 WL 1928357 (D.N.J. Apr. 30, 2024) ...............................41

 United States ex rel. Schmidt v. Zimmer, Inc.,
   386 F.3d 235 (3d Cir. 2004) .............................................................................. 8

 United States ex rel. Travis v. Gilead Sciences, Inc.,
   596 F. Supp. 3d 522 (E.D. Pa. 2022) ................................................................42

 United States v. AseraCare, Inc.,
   938 F.3d 1278 (11th Cir. 2019) ........................................................................36

 United States v. Hibbs,
   568 F.2d 347 (3d Cir. 1977) .............................................................................43

 United States v. Killough,
   848 F.2d 1523 (11th Cir. 1988) ........................................................................46

 United States v. Kindred Healthcare, Inc.,
   469 F. Supp. 3d 431 (E.D. Pa. 2020) ................................................................39

 United States v. White,
   492 F.3d 380 (6th Cir. 2007) ............................................................................25

 United States ex rel. Polansky v. Executive Health Resources, Inc.,
   599 U.S. 419 (2023) .........................................................................................54

 Universal Health Services, Inc. v. United States ex rel. Escobar,
   579 U.S. 176 (2016) ................................................................................... 18, 20

 Walter v. Holiday Inns, Inc.,
   985 F.2d 1232 (3d Cir. 1993) ............................................................................ 7

 In re Zyprexa Products Liability Litigation,
     671 F. Supp. 2d 397 (E.D.N.Y. 2009) ..............................................................13

                                                  STATUTES

 31 U.S.C. § 3729................................................................................................... 50

 31 U.S.C. § 3730............................................................................................. 52, 56
                                                          vi
Case 3:12-cv-07758-ZNQ-JBD                Document 473-1             Filed 08/12/24         Page 8 of 64 PageID:
                                                 29363



 42 U.S.C. § 300ff-26(c)(1) .................................................................................... 39

 42 U.S.C. § 1395w-102 ............................................................................. 23, 24, 34

 42 U.S.C. § 1395y(a) ...................................................................................... 23, 34

 42 U.S.C. § 1396r-8 ........................................................................................ 24, 39

                                                     RULES

 Fed. R. Evid. 201(b).............................................................................................. 39

 Fed. R. Evid. 803(8).............................................................................................. 39

                                              REGULATIONS

 42 C.F.R. § 423.566(a)...................................................................................... 9, 24

 CMS, Final Rule, Medicare Program; Medicare Prescription Drug Benefit,
      70 Fed. Reg. 4194 (Jan. 28, 2005)........................................................ passim




                                                         vii
Case 3:12-cv-07758-ZNQ-JBD      Document 473-1      Filed 08/12/24   Page 9 of 64 PageID:
                                       29364



                                  INTRODUCTION

       This is a simple case masquerading as something complex. To show an FCA

 violation, a relator must prove each of four elements: causation, materiality, falsity

 and scienter. Because the elements are conjunctive, failure of one is failure of all.

 Here, Relators fall woefully short on at least three—causation, materiality and

 falsity—each of which provides a separate and independent basis for the grant of

 judgment as a matter of law in favor of Janssen.

       First, Relators introduced no evidence on which a reasonable jury could find

 that Janssen caused the submission of false claims because they failed to identify a

 single doctor whose judgment was overcome by Janssen’s alleged off-label

 marketing—much less that the alleged conduct was integral to the submission of

 claims or that claims would not have been submitted without the alleged off-label

 marketing. Relators presented no testimony whatsoever from any treating

 physician that Janssen’s alleged conduct caused him or her to prescribe Prezista or

 Intelence for any allegedly off-label use.

       Second, Relators introduced no evidence on which a reasonable jury could

 find that Janssen’s alleged off-label marketing was material to the government’s

 payment decisions. To the contrary, the evidence shows that the government has

 actual knowledge of Relators’ allegations and continues to pay for Prezista and

 Intelence to this day. Evidence that the government generally cares about off-label


                                              1
 Case 3:12-cv-07758-ZNQ-JBD         Document 473-1      Filed 08/12/24    Page 10 of 64
                                     PageID: 29365



marketing is plainly insufficient to show that alleged off-label marketing had a

natural tendency to influence the submission of a claim.

      Third, Relators introduced no evidence on which a reasonable jury could

find that the at-issue claims were false because they failed to identify a single false

claim, let alone introduce evidence that any claims were submitted for uses other

than medically accepted indications.

      Frankly, no evidence is no evidence is no evidence. However the light shifts

in the kaleidoscope, it shines the same from every angle. The evidence Relators put

forth is illusory and cannot salvage their desperate attempt to fit the proverbial

square peg into a round hole. Unlike other FCA cases addressing drug marketing,

this one sought to impose liability on Janssen for promoting HIV drugs for their

indicated purposes—a theory that is nearly without precedent (and as far as

Janssen is aware, the first of its kind to result in a verdict against a defendant).

There is no evidence that could support a verdict on this theory because the law

does not recognize it. At trial, relators sought to escape this reality by blurring the

line between misbranding and FCA liability. But because Relators’ failed to put

forward evidence supporting these three essential elements of their claim, the

Court should enter judgment as a matter of law.

      Judgment as a matter of law is also warranted for the following additional

reasons:

                                            2
Case 3:12-cv-07758-ZNQ-JBD     Document 473-1     Filed 08/12/24    Page 11 of 64
                                PageID: 29366



       • Relators failed to prove their state-law claims. The Court shared its

          concerns right before closing that Relators had failed to put on any

          evidence in support of their state-law claims, and those concerns were

          well-founded. It is indisputable that state payors have their own

          coverage rules, and it is equally indisputable that there is no evidence

          of those coverage rules in the record. The only testimony on this score

          is from Relators’ own witnesses’ admissions that the coverage

          requirements vary from state to state. As courts have repeatedly held,

          these claims must therefore fail as a matter of law.

       • The jury’s verdict on the number of claims and amount of damages

          cannot be sustained for several reasons: (a) the damages amount was

          based on the wrong measure of damages under Third Circuit law; (b)

          Relators’ damages model was based on a series of assumptions that

          were contradicted by the undisputed evidence; (c) the jury’s

          estimation of the number of claims and amount of damages was

          arbitrary and unsupported by the evidence; and (d) there is no basis to

          identify the number of federal as opposed to state claims or damages.

       • The jury’s verdict must also be set aside because Relators’ claims are

          barred under the government-action and public-disclosure bars of the

          FCA and by the Constitution.

                                       3
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1      Filed 08/12/24   Page 12 of 64
                                   PageID: 29367



                                 BACKGROUND

      Relators filed the instant action on behalf of the federal government, twenty-

six states and the District of Columbia, alleging fifty-six counts under the federal

False Claims Act (“FCA”), the federal Anti-Kickback Statute (“AKS”), and the

false claims acts of various states. (See Second Am. Compl. at 1-2, Dkt. 90.) The

claims arise from Janssen’s purported kickback scheme and off-label promotions

of two HIV/AIDS drugs: Prezista and Intelence. (Id.)

      Relators’ first theory of FCA violations is premised on Janssen’s allegedly

improper promotion of its HIV medications in four ways: (1) describing Prezista’s

impact on lipids in ways that the relators allege was misleading (the “lipid-based

claims”); (2) promoting Prezista for treatment-naïve patients before it was FDA-

approved for that patient population in October 2008; (3) promoting Intelence for

once-daily dosing, when it was FDA-approved for twice-daily dosing; and (4)

promoting Intelence for treatment-naïve patients, when it was never FDA-

approved for that patient population. Collectively, these are referred to as Relators’

“Promotional Claims.”

      According to Relators’ damages expert, Israel Shaked, the Promotional

Claims resulted in the submission of 481,265 false claims to federal and state

governments, culminating in $361.9 million in damages. (See 6/3/24 Tr. 5493:14-

25.) Shaked did not detail any payor-by-payor breakdown among these alleged


                                          4
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1     Filed 08/12/24   Page 13 of 64
                                   PageID: 29368



false claims or damages. The jury rejected Relators’ theory in part, awarding

$120,004,736 under the federal FCA and $30,001,184 under state FCAs based on

159,574 purportedly false claims. (Verdict Form at 2, 4-5, Dkt. 435.) The claims

finding did not distinguish between claims submitted to federal and state healthcare

programs because, pursuant to Relators’ request and over Janssen’s objection, the

verdict form was crafted simply to ask for a total claims number that Relators

asserted would cover “ADAP, Medicaid, Medicare.” (6/11/24 Tr. 7949:5-7952:3.)

Nor did the verdict form disaggregate damages by each of the four challenged

promotional claims. (Verdict Form at 2, 4-5, Dkt. 435.)

      Relators’ second theory is premised on Janssen’s alleged violation of the

Anti-Kickback Statute (“AKS”) through its payments to doctors who served as

speakers to educate other doctors about Prezista and Intelence. The jury completely

rejected Relators’ AKS claims. (Verdict Form at 3, 6-7.)

                                   STANDARD

      Under Rule 50(b) of the Federal Rules of Civil Procedure, a post-verdict

judgment as a matter of law is proper when there is no “legally sufficient

evidentiary basis for a reasonable jury to find for [the non-moving party].” See Feit

v. Great W. Life & Annuity Ins. Co., 271 F. App’x 246, 251 (3d Cir. 2008) (citation

omitted). A Rule 50(b) motion requires that “the court . . . review all the evidence

in the record.” Reynolds v. Univ. of Pa., 747 F. Supp. 2d 522, 534 (E.D. Pa. 2010)


                                          5
    Case 3:12-cv-07758-ZNQ-JBD     Document 473-1     Filed 08/12/24    Page 14 of 64
                                    PageID: 29369



(citing Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 150 (2000)),

aff’d, 483 F. App’x 726 (3d Cir. 2012). “[T]he court must draw all reasonable

inferences in favor of the nonmoving party[]” and “give credence to the evidence

favoring the nonmovant,” but it must also credit “that ‘evidence supporting the

moving party that is uncontradicted and unimpeached, at least to the extent that

that evidence comes from disinterested witnesses.’” Reeves, 530 U.S. at 150-51

(citation omitted).1

        The key question in evaluating the sufficiency of the evidence “is not

whether there is literally no evidence supporting [the non-movant], but whether

there is evidence upon which a reasonable jury could properly have found its

verdict.” Johnson v. Campbell, 332 F.3d 199, 204 (3d Cir. 2003) (emphasis

omitted) (quoting Gomez v. Allegheny Health Servs., Inc., 71 F.3d 1079, 1083 (3d

Cir. 1995)). The rule is not “that a scintilla of evidence is enough” to defeat a

motion for judgment as a matter of law. Gomez, 71 F.3d at 1083. Instead, “there

must be a conflict of substantial evidence to create a jury question.” Lightning

Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1184 (3d Cir. 1993) (citation omitted).



1
  In accord with this Court’s instructions, Janssen presented its oral Rule 50(a)
motion before the Court to preserve its rights under Rule 50(b) instead of filing a
written submission. (See 6/3/24 Tr. 5389:4-5393:1 (agreeing on procedure for Rule
50(a) motions); 6/6/24 Tr. 6979:4-6980:11 (same); id. 7430:14-7460:9 (detailing
specific basis for Janssen’s Rule 50 motion); id. 7727:10-7728:15 (renewing after
close of Janssen’s case); id. 7761:4-21 (after rebuttal case).)
                                           6
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1      Filed 08/12/24    Page 15 of 64
                                    PageID: 29370



“‘Substantial’ evidence is such relevant evidence from the record taken as a whole

as might be accepted by a reasonable mind as adequate to support the finding

under review.” Perkin-Elmer Corp. v. Computervision Corp., 732 F.2d 888, 893

(Fed. Cir. 1984) (citation omitted).

      Conclusory testimony that is unsupported by the rest of the record is not

sufficient to support a verdict. See Walter v. Holiday Inns, Inc., 985 F.2d 1232,

1240-43 (3d Cir. 1993). And “a jury is not authorized to base a decision on

conjecture or speculation.” Rosario v. City of Union City Police Dep’t, 263 F.

Supp. 2d 874, 878 (D.N.J. 2003), aff’d, 131 F. App’x 785 (3d Cir. 2005) (granting

defendant’s Rule 50(b) motion to vacate jury’s cumulative award of $3 million in

damages).

      Here, Relators failed to present sufficient evidence to prove their claims, and

the Court should grant judgment notwithstanding the verdict.

                                    ARGUMENT

I.    RELATORS FAILED TO PROVE THEIR FCA CLAIMS.

      To prevail on the Promotional Claims, Relators needed to prove (among

other things): (1) causation, (2) materiality, and (3) falsity. See United States ex rel.

Petratos v. Genentech Inc., 855 F.3d 481, 487 (3d Cir. 2017). For the reasons

below, the evidence fails to support the portion of the jury’s verdict in favor of




                                           7
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1     Filed 08/12/24   Page 16 of 64
                                   PageID: 29371



Relators on any of these elements, and Janssen is therefore entitled to judgment

notwithstanding the verdict.

      A.     Relators Failed To Prove Causation.

      First, Relators failed to prove that Janssen was the but-for or proximate

cause of the submission of any false claim by a Part D plan sponsor to CMS.

      Relators had to prove that Janssen’s alleged conduct was a “substantial

factor” in causing the submission of false claims to Medicare. See United States ex

rel. Schmidt v. Zimmer, Inc., 386 F.3d 235, 244-45 (3d Cir. 2004). Relators thus

had the burden of proving both that (1) Janssen was the but-for cause of the

submission of false claims—i.e., that the claims would not have been submitted in

the absence of Janssen’s alleged conduct, and (2) Janssen’s alleged conduct was

the proximate cause of the submission of those claims, i.e., that its conduct was

“integral” to their submission. See Petratos, 855 F.3d at 491. They proved neither.

             1.    Relators Failed To Prove But-For Causation.

      Relators failed to produce substantial evidence that Janssen’s alleged

conduct was the but-for cause of the submission of any false claim for

reimbursement by any Part D plan sponsor.

      First, there was a total failure of proof on the point of claim submission—

i.e., that anything Janssen did was the but-for cause of a Part D plan sponsor’s

submission of allegedly false claims to CMS for reimbursement.


                                          8
    Case 3:12-cv-07758-ZNQ-JBD      Document 473-1      Filed 08/12/24   Page 17 of 64
                                     PageID: 29372



        Under Part D, it is the plan sponsor that must determine whether a

prescription is covered by Medicare.2 Thus, Relators needed to prove not merely

that Janssen persuaded doctors to prescribe off-label, but that Janssen engaged in

conduct that somehow subverted Part D plan sponsors’ processes for identifying

and weeding out prescriptions that are not eligible for reimbursement under

Medicare. Cf. Petratos, 855 F.3d at 492 (explaining that in indirect-causation

cases, the proper focus “should not be whether the alleged fraud deceived the

prescribing physicians, but rather whether it affected CMS’s payment decision”).

        The United States itself has taken this position as to a relator’s causation

burden, arguing in another FCA case that the government “does not support th[e]

theory of liability” that off-label marketing alone causes “subsequent claims for



2
  See CMS, Final Rule, Medicare Program; Medicare Prescription Drug Benefit,
70 Fed. Reg. 4194, 4261 (Jan. 28, 2005) (“Pt. D Final Rule”); 42 C.F.R. §
423.566(a) (assigning coverage determinations to Part D plan sponsors); CMS,
Medicare Prescription Drug Benefit Manual ch. 6, § 10.6 (rev. 2010) (“Manual”)
(“Part D sponsors are responsible for ensuring that covered Part D drugs are
prescribed for ‘medically-accepted indications.’”). Although the Manual was not
admitted into evidence at trial, the Court “may take judicial notice of public
records.” See Liberty Int’l Underwriters Can. v. Scottsdale Ins. Co., 955 F. Supp.
2d 317, 325 (D.N.J. 2013) (citation omitted). This includes CMS manuals. See
Sturgeon v. Pharmerica Corp., 438 F. Supp. 3d 246, 259 (E.D. Pa. 2020) (finding
that CMS manuals were “both self-authenticating and subject to judicial notice”).
Moreover, the Third Circuit and the Government itself view Medicare benefit
manuals as relevant authority for construing Medicare statutory and regulatory
requirements. See Petratos, 855 F.3d at 488 (relying on Medicare Benefit Policy
Manual to construe Part A requirements and noting that the Government’s brief
relied on the same authority).
                                            9
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1     Filed 08/12/24    Page 18 of 64
                                    PageID: 29373



reimbursement” to be false. Br. for United States as Amicus Curiae at 12 n.4,

United States ex rel. Solis v. Millennium Pharms., Inc., Nos. 15-16953 et al. (9th

Cir. filed Nov. 17, 2016) (“Solis Br.”) (attached as Ex. 1). Rather, the relator must

show that the statements caused submissions for reimbursement because of “false

or misleading statements material to reimbursability.” Id. at 11-12 (emphasis

added). That means, for example, making “false or misleading statements that a

particular drug use is covered under the public health insurance programs,” or that

“an unapproved drug use is supported by a compendium citation.” Id. at 12. This

argument makes sense. Even if an off-label representation were to cause a

prescription to be written, it would be impossible to conclude that such a

representation specifically caused the eventual submission of that prescription by a

Part D plan sponsor to Medicare for reimbursement absent a misrepresentation

about Medicare coverage of that prescription, especially where off-label use of a

drug occurs in the absence of promotion.

      The opinion of the U.S. Court of Appeals for the Second Circuit in United

States ex rel. Polansky v. Pfizer, 822 F.3d 613 (2d Cir. 2016), illustrates the point.

It involved the alleged off-label promotion of Lipitor, a cholesterol-lowering drug,

for use in patients without elevated cholesterol. As the court explained, the FDA

permits doctors to make their own prescribing decisions, meaning that off-label




                                          10
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1     Filed 08/12/24   Page 19 of 64
                                    PageID: 29374



prescriptions will be presented to CMS with or without any alleged promotion for

such uses, making any causal role of promotion “unclear”:

      Accordingly, it is unclear just whom Pfizer could have caused to submit
      a “false or fraudulent” claim: The physician is permitted to issue off-
      label prescriptions; the patient follows the physician’s advice, and
      likely does not know whether the use is off-label; and the script does
      not inform the pharmacy at which the prescription will be filled whether
      the use is on-label or off.

Id. at 619-20. Indeed, because Part D plan sponsors understood that Lipitor was

prescribed both for on-label and off-label purposes, a given sponsor “could hardly

be understood to have operated on the assumption that the physician writing the

prescription was certifying implicitly that he was prescribing Lipitor” on-label. Id.

at 620 (citation omitted); accord United States ex rel. Keeler v. Eisai, Inc., 568 F.

App’x 783, 794 n.18 (11th Cir. 2014) (per curiam) (citing Polansky approvingly on

similar record).

      The same is true here. Relators’ own witnesses acknowledged that doctors

prescribing Prezista and Intelence were in no way restricted from considering off-

label data and studies or from using their medical judgment to write off-label

prescriptions. (See 5/13/24 Tr. 1128:3-1129:13 (Wilhelm); see also 5/21/24 Tr.

2518:5-2519:7 (Dr. Glatt testifying that some of the ways doctors exercise good

medical judgment is by reading medical literature and attending conferences); id.

2521:12-2522:4 (Dr. Glatt acknowledging that off-label prescribing can be

medically appropriate and is, indeed, prevalent in the HIV context).) And on cross-

                                          11
    Case 3:12-cv-07758-ZNQ-JBD      Document 473-1      Filed 08/12/24    Page 20 of 64
                                     PageID: 29375



examination, Shaked admitted that his model identified approximately 200,000

prescriptions for the uses at issue covered by Medicare Part D that were written by

about 3,600 doctors who had no contact with Janssen at all. (See 6/3/24 Tr. 5504:7-

5505:1). Given the pervasiveness of alleged off-label prescribing for HIV patients,

the only reasonable inference (just as in Polansky) is that Part D plan sponsors

would have been aware that a significant portion of Prezista and Intelence

prescriptions would have been for off-label uses.3 Thus, just as in Polansky, it is

“unclear” at best how alleged off-label promotion by Janssen could be the but-for

cause of the submission of claims for reimbursement. And by the same logic, it

also defies reason to conclude from these facts that any Part D plan sponsor was

impliedly certifying that any Prezista or Intelence prescription was for on-label use

when submitting such claims to CMS for reimbursement. There was zero evidence

at trial to this effect.

        Second, Relators’ proof of causation also failed at the first link in their

causal chain: that any allegedly improper promotion actually influenced any

doctor’s prescribing decision. As the Third Circuit recognized in Petratos,

prescribing is driven by patient-specific considerations. 855 F.3d at 487-88.




3
 CMS also understood at the time Part D was enacted that off-label prescribing
“may be the mainstay of medical practice for successfully managing certain
conditions, such as . . . HIV/AIDS.” Pt. D Final Rule, 70 Fed. Reg. at 4260.
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 Case 3:12-cv-07758-ZNQ-JBD         Document 473-1      Filed 08/12/24   Page 21 of 64
                                     PageID: 29376



Accordingly, as other courts have held in analogous circumstances, individualized

proof is needed to establish the effects of marketing on prescribing decisions. See,

e.g., In re Zyprexa Prods. Liab. Litig., 671 F. Supp. 2d 397, 454 (E.D.N.Y. 2009)

(because of the doctor- and patient-specific nature of prescribing decisions,

“[i]ndividualized proof is needed . . . to overcome the possibility that a . . . patient

was prescribed Zyprexa for some reason other than” the alleged marketing).

      Relators’ own witnesses uniformly acknowledged this common-sense fact in

the context of HIV specifically, conceding that the decision regarding which

combination of medications to prescribe for an HIV patient is a complex and fact-

dependent one, turning on many considerations other than promotional messaging.

(E.g., 5/15/24 Tr. 1878:14-1879:15 (Brancaccio conceding doctors take many

factors into account when prescribing medications); 5/21/24 Tr. 2514:3-2515:1

(Dr. Glatt testimony about the many factors doctors consider when selecting a

medication).) Relators presented no doctor- or patient-specific evidence to

demonstrate the alleged off-label marketing effect on prescribing in any individual

doctor’s office. Nor did they present testimony from any treating physician that

Janssen’s alleged off-label promotion caused her to prescribe Prezista or Intelence.

To the contrary, Relators’ medical expert, Dr. Glatt, conceded that:

          •    an individual doctor’s medical judgment about HIV care should
              supersede any generalized guidance on the topic (see 5/21/24 Tr.
              2513:6-22);

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    Case 3:12-cv-07758-ZNQ-JBD     Document 473-1      Filed 08/12/24   Page 22 of 64
                                    PageID: 29377



           • a doctor’s individualized judgment could properly lead her to make a
             medically appropriate decision to prescribe medications off-label (id.
             2521:8-16);

           • it is critical for doctors to thoroughly reassess new patients referred by
             other doctors and existing patients at every single visit (id. 2520:2-
             16); and

           • there are circumstances where even he would consider it medically
             appropriate to prescribe Prezista and Intelence in the precise manner
             at issue here (see infra at p. 36).

Taken together, the only thing Relators proved is what Janssen argued all along: in

the HIV context, the cause of a doctor’s decision to prescribe medications,

including off-label, is a highly individualized assessment subject to the

independent, medical judgment of a treating physician. There was no evidence that

a doctor’s judgment was hijacked by Janssen’s promotional messages in even a

single instance, much less across hundreds of thousands of prescriptions. 4


4
  Relators’ attempt to substitute aggregate proof for the individualized proof that is
actually required is unavailing as a matter of law. Federal courts have repeatedly
rejected generalized proof of causation in analogous cases under RICO, which, like
the FCA, incorporates common-law causation principles. See, e.g., In re
Actimmune Mktg. Litig., 614 F. Supp. 2d 1037, 1051-52 (N.D. Cal. 2009)
(rejecting generalized causation allegations and, instead, requiring “specific
information” available and relied upon, as well as whether a prescription would not
have been written if not for the allegedly off-label promoted use), aff’d, 464 F.
App’x 651 (9th Cir. 2011). Relators have previously relied on In re Neurontin
Marketing & Sales Practices Litigation, 712 F.3d 21 (1st Cir. 2013), but to prove
causation there, plaintiffs relied on an expert who used regression analysis to show
a causal connection between the fraudulent marketing and the quantity of off-label
prescriptions written. Id. at 29-30. Relators made no such showing here. Although
Shaked performed a statistical analysis, he did not even claim to show causation
between Janssen’s conduct and prescribers’ behavior, testifying only about an
                                                                                 (cont’d)
                                          14
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1     Filed 08/12/24    Page 23 of 64
                                    PageID: 29378



      Thus, because Relators have failed to present any evidence about any

individual prescription at issue here, they have failed to establish the causation

element of their FCA claim.

             2.     Relators Failed To Prove Proximate Causation.

      Even if Relators could establish but-for cause, there is still a failure of proof

on the causation element because they did not establish proximate cause.

      As the Third Circuit put it in Petratos, a relator must also prove that the

conduct at issue is “integral” the submission of false claims. 855 F.3d at 491. This

proximate-causation requirement is based on common-law principles. E.g., United

States v. Luce, 873 F.3d 999, 1012 (7th Cir. 2012) (“The statutory language of the

FCA does not suggest that Congress sought to depart from the established

common-law understanding of causation in fraud cases.”). As other federal courts

have held in construing common-law proximate-causation standards in the

analogous context of third-party payor claims about allegedly fraudulent off-label

marketing of prescription drugs under the federal Racketeer Influenced and

Corrupt Organizations Act (“RICO”), proximate causation may be lacking where

the causal chain is “too indirect or contingent.” Sidney Hillman Health Ctr. of




observed “strong relationship” between the two and rejecting the contentions that
doctors wrote prescriptions “because” or “as a result” of messages from sales
representatives. (See 6/3/24 Tr. 5546:12-22.)
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    Case 3:12-cv-07758-ZNQ-JBD     Document 473-1      Filed 08/12/24    Page 24 of 64
                                    PageID: 29379



Rochester v. Abbott Lab’ys, 873 F.3d 574, 578 (7th Cir. 2017) (emphasis added)

(citing Hemi Group, LLC v. City of New York, 559 U.S. 1 (2010)).5

        In Sidney Hillman, for example, two welfare-benefit plans sued the

manufacturer of Depakote, alleging that the manufacture had improperly marketed

it for off-label purposes, causing physicians to prescribe the drug, patients to fill

the prescription, and (ultimately) third-party payors like the plaintiffs to pay for

them. Id. at 575. The U.S. Court of Appeals for the Seventh Circuit concluded that

this “causal chain [wa]s too long to satisfy” proximate causation. Id. at 578. As it

explained, “some off-label uses of Depakote may be beneficial to patients”; some

physicians may have been “apt to write such prescriptions whether or not Abbott

promoted off-label uses”; and some physicians “may not have changed their

prescribing practices at all” or in response to information from sources other than

Abbott. Id. at 577. Because there were “so many layers, and so many independent




5
 Sidney Hillman applied proximate causation in the RICO context, but the
Supreme Court has made clear that proximate causation applies in RICO cases in
accord with common-law principles. See Holmes v. Secs. Inv. Prot. Corp., 503
U.S. 258, 269 (1992). Janssen is not contending that only the most direct
misrepresentations are actionable under the FCA. But proximate causation
principles bar claims of injury that, as here, are “several levels removed in the
causal sequence.” Sidney Hillman, 873 F.3d at 578.
                                           16
    Case 3:12-cv-07758-ZNQ-JBD     Document 473-1     Filed 08/12/24   Page 25 of 64
                                    PageID: 29380



decisions, between promotion and payment,” proximate causation could not be

met. Id. at 578.6

        The same reasoning applies here. Relators’ theory of causation relies on

precisely the type of downstream injury that that is “too remote from its causal

agent . . . to satisfy” the proximate cause requirement. Steamfitters Loc. Union No.

420 Welfare Fund v. Philip Morris, Inc., 171 F.3d 912, 921 (3d Cir. 1999). For this

reason, too, Relators failed to prove causation as a matter of law.

        B.    Relators Failed To Prove Materiality.

        Relators also failed to prove materiality. The federal government has had

full knowledge of Relators’ allegations for over a decade, yet CMS is still paying

for Prezista and Intelence, and no government agency—federal or state—has taken

any other measure to prevent alleged off-label promotion or prescribing of these




6
  Although the Third Circuit has not ruled directly on the question in an analogous
case, it cited this line of cases with approval in In re Avandia Mktg., Sales Pracs.
& Prods. Liab. Litig., 804 F.3d 633, 642-43 (3d Cir. 2015), but found causation
was plausibly alleged on distinguishable facts—because false statements were
made directly by the defendant to the payors. Sidney Hillman recognized this
distinction. 873 F.3d at 578 (explaining that Avandia “agree[d] with the Second
Circuit’s position as a rule,” but held that alleging proximate causation was
possible “when misrepresentations are made directly to Payors, leading them to
add certain drugs to their formularies, which means that they pay more per
prescription than they would otherwise.”) (emphasis added). Here, there was no
evidence of direct misrepresentations made by Janssen to CMS, nor any evidence
that CMS paid any more for Janssen’s HIV drugs than it would have were
alternative HIV drugs prescribed.
                                          17
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1      Filed 08/12/24   Page 26 of 64
                                    PageID: 29381



drugs. As a result, the evidence cannot support the conclusion that the conduct

alleged was material to CMS’s payment decision.

      Materiality is a “demanding” and “rigorous” requirement. Universal Health

Servs., Inc. v. United States ex rel. Escobar, 579 U.S. 176, 192, 194 (2016). And it

is not met where “the Government would have paid the claims with full knowledge

of the alleged noncompliance.” Petratos, 855 F.3d at 490. That is true regardless of

whether, as a technical matter, the claim at issue fails to meet a statutory

“condition of payment,” or where some “‘minor or insubstantial’ noncompliance”

might have been shown. Id. at 489-90 (quoting Escobar, 579 U.S. at 194).

      Here, the evidence shows that the government had actual knowledge of

Relators’ allegations, including evidence offered in support of those allegations.

(See 5/7/24 Tr. 240:15-20 (Graham testifying that she “went to the DOJ” with her

claims); 5/8/24 Tr. 357:11-358:19, 360:5-361:21; 5/15/24 Tr. 1845:12-1846:17

(Brancaccio testimony that she shared information regarding the present lawsuit

with the government); 5/23/24 Tr. 3491:24-3493:23, 3497:23-3500:18 (Penelow

testimony regarding interview with and overview of allegations provided to the

government); DX-8518 (email attaching memo to send to government

summarizing Relators’ claims) (attached as Ex. 2); DX-8856 (email noting the

government had asked for evidence at a prior meeting) (attached as Ex. 3); DX-




                                          18
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1     Filed 08/12/24   Page 27 of 64
                                   PageID: 29382



2372, at 22 (Brancaccio’s admission that all evidence was provided to government)

(attached as Ex. 4); DX-8511, at 21 (same as to Penelow) (attached as Ex. 5).)

      The evidence also shows that the government continues to pay for Prezista

and Intelence to this day. (See 5/28/24 Tr. 3916:3-18 (Evans testifying that she has

not seen any evidence that CMS has ever stopped reimbursing for Prezista or

Intelence since 2006).) This record is conclusive. As the Third Circuit held in

Petratos, materiality is lacking where the record shows that the “[g]overnment

would have paid the claims with full knowledge of the alleged noncompliance.”

855 F.3d at 490. That is the case here.

      The government’s continued payment—and its determination that any

deviation from its coverage requirements was immaterial—makes sense in light of

its liberal policy ensuring coverage of HIV medications. In its 2010 National

HIV/AIDS Strategy for the United States, the White House declared its vision to

create “unfettered access” to life-extending care. (DX-3005, at 3 (attached as Ex.

6).) CMS recognizes antiretroviral drugs as one of six protected classes of drugs,

and Part D sponsor formularies must include these drugs. (See, e.g., DX-8851

(email from Eric Sherr attaching and explaining Interim Final Rule on Protected

Classes in Medicare Part D) (attached as Ex. 7); 5/9/24 Tr. 826:16-19 (Strand

agreeing that protected status shows CMS “has made a decision that it wants

people to have easy access to these HIV medicines”).

                                          19
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1      Filed 08/12/24   Page 28 of 64
                                   PageID: 29383



      Relators’ attempted proof of materiality consisted entirely of evidence to the

effect that “the government”—not necessarily CMS specifically—generally cares

about off-label marketing. For example, they elicited speculative (and inaccurate)

testimony from Sara Strand that the government generally does not pay for off-

label prescriptions. (See 5/9/24 Tr. 904:15-905:12.) Similarly, Relators pointed to

other settlements with the government (including the two corporate integrity

agreements, or “CIAs”) as evidence that the government cares in general about off-

label promotion.

      None of these arguments have merit. First, Relators’ evidence of other

government actions and settlements establishes, at most, that the government

“would be entitled to refuse payment were it aware of the violation,” which the

Supreme Court expressly rejected as insufficient to establish materiality in

Escobar, 579 U.S. at 195. This argument also fails to grapple with the fact that the

allegations in this case concern the use of HIV medications to treat HIV. As such,

it bears no resemblance to the other examples that Relators have cited of

government enforcement in response to off-label promotion, which generally

involve promotion of drugs for unapproved indications.

      That distinction is significant because the alleged “off-label” uses at issue in

this case concern minor alleged departures from labeling—not uses for wholly

different diagnoses or conditions, which may implicate institutional concerns about

                                         20
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1      Filed 08/12/24   Page 29 of 64
                                    PageID: 29384



paying for inefficacious treatment. Here, there was no proof that even a single “off-

label” Prezista or Intelence prescription did not work. The distinction from typical

off-label cases is also significant because, in the context of HIV, CMS would

necessarily have paid for some other, equally expensive medication had it not

covered Prezista or Intelence. Indeed, it was undisputed at trial that Prezista was

priced at parity with the market leader, meaning the government paid no more for

Prezista than it would have for an alternative drug. (See 5/22/24 Tr. 3008:2-25.)

Nor did the government pay any more for prescriptions of Intelence once-daily

than twice-daily, which affected only dosing interval of the same drug quantity.

Accordingly, Relators failed to demonstrate that any of the alleged false claims

did, or could have, affected the government’s decision to pay, as required for

materiality.

      Second, Relators’ reliance on the CIAs is especially misplaced because the

existence of the CIAs—combined with the government’s inaction on Prezista and

Intelence—independently forecloses proof of materiality. As the U.S. Court of

Appeals for the Sixth Circuit held in United States ex rel. Maur v. Hage-Korban,

981 F.3d 516 (6th Cir. 2020), where a CIA is in place as a result of a prior FCA

suit alleging similar prior conduct, and review by a related oversight organization

is ongoing at the time of the relator’s allegations in a subsequent suit, “it can be




                                          21
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1     Filed 08/12/24    Page 30 of 64
                                    PageID: 29385



assumed that the government would be aware if the same fraudulent scheme

continued or was restarted.” Id. at 528 (cleaned up) (citation omitted).

      Like the CIA in Maur, the CIAs here expressly provided for retention of an

Independent Review Organization (“IRO”). (See RX-423, § III.D.1.a, at 16 &

app’xs A & B (attached as Ex. 8); RX-361, § III.E.1.a, at 26 & app’xs A-C

(attached as Ex. 9).) And the CIAs also specifically charged the IROs with

responsibility for overseeing the general category of alleged activity at issue in this

case—i.e., “the dissemination of materials relating to off-label uses of products.”

(See RX-423 app’x B at 2-3; see also RX-361 app’x B at 2, 4; 5/28/24 Tr. 3868:3-

7 (Evans affirming that the “very products and the very programs” at issue here

were part of the 2010 CIA).) Given the insight the IROs had into the types of

alleged marketing practices at issue in this case, “it can be assumed that the

government would be aware if the same [alleged] fraudulent scheme continued or

was restarted” with respect to Prezista and Intelence. Maur, 981 F.3d at 528

(cleaned up) (citation omitted). Yet the government took no action with respect to

these drugs—and it never stopped reimbursing prescriptions of them—further

precluding any finding of materiality. (See 5/28/24 Tr. 3916:3-7 (Evans agreeing

that she has “not seen any evidence that [the government] halted reimbursement

for” Prezista or Intelence); id. 3904:2-14, 3917:6-18 (Evans conceding that Janssen




                                          22
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1     Filed 08/12/24       Page 31 of 64
                                   PageID: 29386



was not subject to any stipulated penalties or exclusion from reimbursement

programs due to noncompliance with the 2010 and 2013 CIAs).)

      For these reasons, too, Relators’ claims fail as a matter of law.

      C.     Relators Failed To Prove Falsity.

      Relators also failed to prove that any claim was false.

      In a case alleging that a pharmaceutical company caused “false claims” for

medications it manufactured to be “submitted to the Medicare program,” the

relator must prove that the company caused the submission of claims for

reimbursement that failed to meet Medicare’s “conditions for payment.” Petratos,

855 F.3d at 486-87. For Medicare Part D, a prescription of a Part D drug is covered

as long as it is for a “medically accepted indication” and, where Part D plan

sponsors require it, the prescription is “reasonable and necessary.” 42 U.S.C. §§

1395w-102(e)(1) & (e)(3)(A), 1395y(a).

      The relator must also “provide ‘evidence of the actual submission of a false

claim,’” meaning not merely alleged evidence of a “scheme” pursuant to which

“illegal payments must have been submitted,” but the false claim itself. United

States ex rel. Greenfield v. Medco Health Sols., Inc., 880 F.3d 89, 98 (3d Cir.

2018) (citations omitted).




                                         23
    Case 3:12-cv-07758-ZNQ-JBD      Document 473-1      Filed 08/12/24   Page 32 of 64
                                     PageID: 29387



        Relators proved none of these things. As elaborated below, Medicare does

not bar coverage of the uses of Prezista and Intelence alleged in this case, and

Relators in any event failed to identify any specific false claim.

              1.     Relators Failed To Prove That The Alleged Uses Of Prezista
                     And Intelence Were Not “Medically Accepted Indications.”

        First, Relators failed to proffer evidence that any claim at issue was not for a

medically accepted indication.

        “Medically accepted indication” means “any use for a covered outpatient

drug which is approved” under the FDCA or supported by certain compendia. 42

U.S.C. §§ 1395w-102(e)(4), 1396r-8(k)(6).7 As CMS elaborates in its Medicare

Prescription Drug Benefit Manual, “[m]edically-accepted indication refers to the

diagnosis or condition for which a drug is being prescribed, not the dose being

prescribed for such indication.”8 And Part D plan sponsors “determine whether

the statutory definition of ‘medically accepted indication’ is met with regard to the

particular use of a drug.”9



7
 Janssen preserves its argument that Part D imposes no such requirement. See
Layzer v. Leavitt, 770 F. Supp. 2d 579, 587 (S.D.N.Y. 2011) (holding that Part D
“does not impose a [‘medically accepted indication’ requirement]”).
8
    Manual ch. 6, § 10.6 (emphases added).
9
 Pt. D Final Rule, 70 Fed. Reg. at 4261; 42 C.F.R. § 423.566(a) (assigning
coverage determinations to Part D plan sponsors); Manual ch. 6, § 10.6 (“Part D
sponsors are responsible for ensuring that covered Part D drugs are prescribed for
‘medically-accepted indications’ . . . .”).
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 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1      Filed 08/12/24   Page 33 of 64
                                   PageID: 29388



      On this question—Part D plan sponsors’ determination of whether the

alleged off-label uses of Prezista and Intelence in this case were for medically

accepted indications—there was a total failure of proof. As Janssen reiterated

throughout the trial, Relators failed to proffer even one witness or piece of

evidence on the decisions of Part D plan sponsors.

      In the absence of evidence of final determinations on the coverage questions

from Part D plan sponsors themselves, Relators at least needed to elicit competent

expert testimony on this topic. Cf. United States v. White, 492 F.3d 380, 403 (6th

Cir. 2007) (“The Medicare program operates within a complex and intricate

regulatory scheme and we cannot say that the average lay person, including any

Medicare beneficiary, commands a working knowledge of Medicare

reimbursement procedures.”). As Relators themselves argued in successfully

opposing the submission of CMS documents to the jury, “interpretat[ions] of rules

and regulations and CMS guidelines” would need to be provided, if at all, by

“expert witnesses.” (6/11/24 Tr. 8044:22-8045:3.)10 But Relators failed to call such

an expert. Because Relators failed to proffer any competent evidence of how Part




10
  Relators’ position has shifted and contradicted itself on this issue. Relators
previously contended that any requirements of CMS should be included in jury
instructions. (Dkt. 409, at 2.) But they also successfully opposed any instruction on
Part D’s requirements. (Dkt. 424-1, at 27 (opposing instruction); see generally Dkt.
424-11 (final instructions omitting Part D charge).)
                                         25
 Case 3:12-cv-07758-ZNQ-JBD         Document 473-1       Filed 08/12/24   Page 34 of 64
                                     PageID: 29389



D plan sponsors would interpret “medically accepted indication” as relevant here,

Janssen is entitled to judgment as a matter of law on the issue of falsity.

        Even ignoring this issue, Relators’ arguments that the four uses at issue were

not medically accepted indications, fail for two reasons: (1) the use of Prezista in

patients with elevated lipids was not barred by the label; and (2) the other uses,

constituted “medically accepted indications” under the Part D framework.

                     (a)    Use Of Prezista With Lipid Conditions Is A Medically
                            Accepted Indication.

        Relators’ principal assertion is that use of Prezista in patients with lipid

conditions was not a medically accepted indication because the drug’s labeling

contains lipid risk information in the Adverse Reactions section of the label. This

argument fundamentally misapprehends the law and is unsupported.

        As noted above, “[m]edically-accepted indication refers to the diagnosis or

condition for which a drug is being prescribed.”11 There was no dispute that

Prezista was being used for an indicated condition (HIV). And the inclusion of

lipid side effects in the Adverse Reactions section of the label does not narrow

Prezista’s indication. “There is a distinction between off-label marketing to achieve

a treatment not contemplated by the label . . . and marketing to a patient population

not specifically mandated by the label.” United States ex rel. Polansky v. Pfizer,



11
     Manual ch. 6, § 10.6 (emphases added).
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 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1     Filed 08/12/24      Page 35 of 64
                                    PageID: 29390



Inc., 914 F. Supp. 2d 259, 266 (E.D.N.Y. 2012), aff’d, 822 F.3d 613. Similarly, it

is not the case that every “advisory snippet” in an FDA-approved label may be

converted into a “prohibitory mandate” to support an FCA claim. Id. at 260. Where

the label provides data but “the doctor’s clinical judgment is . . . the determinative

factor” as to how those data are to be used, then the data “serves as a

recommendation, not a limitation or prohibition.” Id. at 264-65.

       In Polansky, for example, the relator argued that because the “Indications

and Usage” section of the Lipitor label incorporated NCEP Guidelines

recommending use of statins in patients with certain risk factors, “any marketing of

the drug for patients outside the Guidelines’ range is ‘off-label marketing,’

resulting in the filing of false claims under the False Claims Act.” Id. at 262. The

District Court rejected this “drastically elongated reach of the False Claims Act.”

Id. Because it was undisputed that Lipitor was approved to treat cholesterol, and

the guidelines were not “prohibitory,” the question of how to prescribe Lipitor was

left to the doctor’s judgment. Id. at 264. Thus, the court refused to “relieve

government insurers of the obligation to pay for drugs that doctors believe certain

of their patients need, and that the patients themselves want, in order to improve

their health.” Id. at 260.

       The same logic applies here. Just like the NCEP Guidelines in the case of

Lipitor, the data in the Adverse Reactions section are not “prohibitory.” Instead,

                                          27
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1     Filed 08/12/24   Page 36 of 64
                                    PageID: 29391



again like the NCEP Guidelines, Adverse Reactions data are included when

“useful to health care practitioners making treatment decisions and monitoring and

advising patients.”12 Relators’ own witnesses conceded this character of the lipid

information in this section of the label. Dr. Glatt admitted that “[p]rescribing

Prezista for someone with a lipid condition is not off the FDA label” and that

whether to prescribe Prezista for such a patient is a matter of medical judgment.

(See 5/21/24 Tr. 2514:3-2515:1, 2526:6-8, 2537:16-2538:7, 2540:13-16 (emphasis

added).) Brancaccio similarly acknowledged that a patient’s lipids are simply a

factor that HIV-doctors consider, monitor and manage when prescribing Prezista

and other medications. (See 5/15/24 Tr. 1861:25-1864:2.)

      In short, the lipid data in the Adverse Reactions section are “advisory

snippet[s],” making “the doctor’s clinical judgment . . . the determinative factor” as

to how those data are to be used. Polansky, 914 F. Supp. 2d at 260, 264. They do

not restrict the “medically accepted indication” for Prezista and therefore do not

establish falsity under the FCA.




12
  FDA, Guidance for Industry: Adverse Reactions Section of Labeling for Human
Prescription Drug and Biological Products — Content and Format at 2 (Jan.
2006), https://www.fda.gov/media/72139/download (attached as Ex. 10).
                                          28
 Case 3:12-cv-07758-ZNQ-JBD          Document 473-1     Filed 08/12/24    Page 37 of 64
                                      PageID: 29392



                      (b)    The Three Other Uses Of Prezista And Intelence Are
                             Also Medically Accepted Indications.

         Relators also failed to prove that use of Prezista or Intelence in treatment-

naïve patients or use of Intelence once daily are not medically accepted indications.

         First, prescriptions to treatment-naïve patients are for a medically accepted

indication. As explained above, CMS defines “medically accepted indication” in

terms of the “diagnosis or condition” for which the drug is being prescribed. 13

Here, there is no dispute that the Prezista and Intelence prescriptions at issue were

prescribed to treat HIV, the “diagnosis or condition” for which both are indicated.

         That the labels identify use in a particular population does not change the

analysis, as Polansky again illustrates. In that case, the label in relevant part stated

that “[l]ipid-altering agents” like Lipitor “should be used in addition to a diet

restricted in saturated fat and cholesterol only when the response to diet and other

nonpharmacological measures has been inadequate,” referring to NCEP Guidelines

reproduced in Table 6 of the label as follows:14




13
     Manual ch. 6, § 10.6.
14
  See 9/21/2005 Lipitor Label at 12,
https://www.accessdata.fda.gov/drugsatfda_docs/label/2005/020702s042lbl.pdf
(attached as Ex. 11); see also Polansky, 914 F. Supp. 2d at 261 (reproducing same
table).
                                            29
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1      Filed 08/12/24   Page 38 of 64
                                    PageID: 29393




Citing this language, the relator argued that Pfizer was “restricted . . . from

marketing the drug to doctors to be used on patients whose risk profiles fell outside

the parameters indicated by the NCEP Guidelines.” Polansky, 914 F. Supp. 2d at

262. The District Court rejected this argument, holding that the specification of one

population in the Indications and Usage section did not give rise to FCA liability

for prescriptions written to patients outside that population—even though “it [wa]s

unclear whether Lipitor works for two specific classes of patients with certain

types of high cholesterol.” Id. at 264.

      The same rationale applies here. Relators’ argument is that use of Prezista

and Intelence in treatment-naïve populations was not a medically accepted

indication because the “Indications and Usage” sections of the label specify


                                          30
 Case 3:12-cv-07758-ZNQ-JBD         Document 473-1       Filed 08/12/24   Page 39 of 64
                                     PageID: 29394



treatment-experienced populations. But as in Polansky, the labels here contain no

“prohibitory” language with respect to other populations. Id. At most, the relevant

labels state that safety and efficacy “have not been established” in treatment-naïve

populations.15 But that is no different from Polansky, in which it was similarly

“unclear whether Lipitor works for two specific classes of patients with certain

types of high cholesterol.” Id.

         Second, prescriptions for Intelence once daily also satisfy the medically

accepted indication requirement. CMS expressly excludes dosing considerations

from the definition of “medically accepted indication,” which again “refers to the

diagnosis or condition for which a drug is being prescribed, not the dose being

prescribed for such indication.”16 Reflecting this policy, CMS data do not even

contain dosing instructions, as Relators’ data expert Ian Dew admitted at trial

(5/31/24 Tr. 5285:22-5286:15), meaning no representation is ever even made to

CMS regarding whether a drug is taken once or twice daily—precluding the

possibility of any false representation on this issue.

         Finally, all of Relators’ contrary arguments are misplaced because they

conflate what CMS deems to be a “medically accepted indication” with what the

FDA would deem to be “on-label.” CMS “recognize[s] the value of off label


15
     DX-1007A, at 14 (attached as Ex. 12); DX-1045A, at 2 (attached as Ex. 13).
16
     Manual ch. 6, § 10.6 (emphases added).
                                           31
 Case 3:12-cv-07758-ZNQ-JBD         Document 473-1      Filed 08/12/24   Page 40 of 64
                                     PageID: 29395



prescribing” and has clarified that nothing in Part D “preclude[s] . . . prescribers

from prescribing drugs for off label indications, provided the drug is prescribed for

a ‘medically accepted indication.’” 17 CMS also specifically understands that “off-

label use is critically important and may be the mainstay of medical practice for

successfully managing certain conditions, such as . . . HIV/AIDS.” 18 And CMS has

stated that Part D plans are expected to accommodate national guidelines and offer

complete treatment options for HIV.19

         Relators’ constricted definition of “medically accepted indication” would

frustrate CMS policy by forcing Medicare beneficiaries whose doctors determine



17
     Pt. D Final Rule, 70 Fed. Reg. at 4261 (citation omitted).
18
  Id. at 4260. Relators’ rigid construction of “medically accepted indication”
would lead to an absurd result: that CMS (part of HHS) would refuse to cover off-
label uses of HIV drugs that another part of HHS expressly endorsed in treatment
guidelines.
19
   Id. at 4260 (“We are looking to existing national standards to inform our review
at the drug level, and Part D plans will be expected to accommodate national
guidelines and offer complete treatment options for a variety of medical
conditions, including . . . HIV.”). To this end, during at least some of the
timeframe at issue, the HHS guidelines—one of the most important of the many
factors doctors consider when prescribing HIV medications (see 5/20/24 Tr.
2316:12-21 (Glatt explaining the importance of guidelines))—referenced properly
prescribing Prezista and Intelence in the precise manner at issue here. (See, e.g.,
RX-1356, at 46 (including a study suggesting Intelence “once-daily” may be a
potential option for treatment-naïve patients) (attached as Ex. 14); RX-1354, at 43-
44 (listing Prezista boosted with ritonvair as one of two “preferred PI” medications
in part because of its favorable lipid profile) (attached as Ex. 15); RX-1352, at 24
(excerpting Janssen’s clinical trial data results that supported using Prezista for
treatment-naïve patient population) (attached as Ex. 16).)
                                           32
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1       Filed 08/12/24   Page 41 of 64
                                    PageID: 29396



they need off-label HIV treatments to pay for those treatments out of pocket. In the

absence of express restrictions on coverage of the prescriptions at issue in this

case, the Court should reject such a perverse policy outcome. As the Polansky

court put it, CMS would want to “avoid the negative reaction that the public would

likely have if a patient’s doctor decided that the patient should use a statin to lower

his cholesterol, but then had to tell the patient that the patient was going to have to

pay for the drug himself because public insurers refused to cover it.” 914 F. Supp.

2d at 266. Such a policy calculus applies, if anything, with even greater force in the

context of HIV, especially in light of CMS’s express recognition of the importance

of covering the full range of possible treatments for that diagnosis.

      Accordingly, Relators failed to prove any prescription should not have been

covered on the ground that it was not for a medically accepted indication.

             2.     Relators Failed To Prove Any Prescription Of Prezista Or
                    Intelence Was Not “Reasonable And Necessary.”

      Relators also failed to prove that any prescription should not have been

covered on the ground that it was not reasonable or necessary, both because they

failed to prove that this requirement applied at all, and because they failed to prove

that any prescription failed to meet it even if it did apply.

      First, Relators failed to prove that the “reasonable and necessary”

requirement applied to any prescription. The Medicare statute provides that Part D

plan sponsors “may exclude” from coverage “any covered Part D drug . . . for

                                           33
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1     Filed 08/12/24   Page 42 of 64
                                    PageID: 29397



which payment would not be made if section 1395y(a) . . . applied” to Part D. 42

U.S.C. § 1395w-102(e)(3)(A) (emphases added).20 Section 1395y(a) is the source

of the “reasonable and necessary” criterion that is mandatory in Medicare Parts A

and B, but left to the discretion of plan sponsors to apply under Part D. 21 As the

U.S. government has put it, the language in § 1395w-102(e)(3)(A) means that “Part

D prescription drug plans may elect to deny coverage” for prescriptions that are not

reasonable and necessary. Solis Br. at 5 n.2 (emphasis added). Here, Relators did

not proffer any evidence that any Part D plan sponsor “elect[ed]” to apply this

requirement. For that reason alone, Relators failed to prove that any “reasonable

and necessary” requirement applied to any prescription at issue.



20
   See also Pt. D Final Rule, 70 Fed. Reg. at 4230 (explaining that “a Part D plan
may exclude from coverage covered Part D drugs for which payment may not be
made under section 1862(a) of the Act if applied to Part D,” i.e., “items and
services that are not reasonable and necessary for the diagnosis or treatment of
illness or injury or to improve the functioning of a malformed body member,
except those vaccines identified in section 1862(a)(1)(B) of the Act as covered Part
B vaccines”); Manual ch. 6, § 20.4 (“[A] Part D sponsor may exclude from
qualified prescription drug coverage any Part D drug . . . [f]or which payment
would not be made if items and services are not reasonable and necessary for the
diagnosis or treatment of illness or injury or to improve the functioning of a
malformed body member . . . .”).
21
   The meaning of the permissive “may” in § 1395w-102(e)(3)(A) is indisputable:
exclusion of coverage on the basis that a prescription is not “reasonable and
necessary” is optional—and entirely within the discretion of the Part D plan
sponsor, meaning Medicare will cover such prescriptions if the sponsor decides not
to exclude them. E.g., Kingdomware Techs., Inc. v. United States, 579 U.S. 162,
171-72 (2016) (The “word ‘may’ . . . implies discretion.”).
                                          34
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1      Filed 08/12/24   Page 43 of 64
                                    PageID: 29398



      Second, and in any event, Relators failed to prove that any prescription

failed to meet the “reasonable and necessary” requirement. The relevant inquiry

focuses on the “individual patient,” and it turns on “accepted standards of medical

practice and the medical circumstances of the individual case.” Petratos, 855 F.3d

at 488 (quoting Medicare Benefit Policy Manual, ch. 15, § 50.4.3).22 Thus,

Relators needed to prove as to each claim for which they seek to recover that the

Prezista or Intelence prescription at issue was not reasonable or necessary as a

matter of “accepted standards of medical practice and the medical circumstances of

the individual case.” Id. at 488 (citation omitted).

      Relators have not proven this, nor could they have. The undisputed evidence

at trial from multiple witnesses—including several independent physicians who

testified as fact witnesses—is that there were valid reasons for prescribing Prezista

and Intelence for each of the four uses alleged by Relators in this case, and that

such prescriptions would turn on the needs of the patient and the independent

medical judgment of the physician. (See, e.g., 5/31/24 Tr. 5211:11-20 (Dr. Hsu

agreeing that he wrote prescriptions for Prezista and Intelence based on his “best

medical judgment”); 6/6/24 Tr. 6756:23-25 (similar testimony by Dr. Frank); id.

6812:8-21 (similar testimony by Dr. McMeeking); 6/10/24 Tr. 7692:2-6 (similar



 Petratos expressly construes “reasonable and necessary” in the context of
22

Medicare Parts A and B, where that requirement applies. See 855 F.3d at 488.
                                          35
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1     Filed 08/12/24     Page 44 of 64
                                   PageID: 29399



testimony by Dr. Mills); 6/7/24 Tr. 6912:9-6918:4 (Dr. Rosenberg describing the

myriad factors that go into prescribing decisions for HIV patients).)

      Even Dr. Glatt conceded that there are circumstances where it would be

medically appropriate for a doctor to prescribe Prezista and Intelence precisely for

the allegedly off-label uses at issue here. For example, Dr. Glatt acknowledged

that, under certain circumstances, it would be medically appropriate for a doctor to

prescribe Prezista to a treatment-naïve patient even before the 2008 label change.

Dr. Glatt similarly admitted there are certain circumstances where it would be

medically appropriate to prescribe Prezista to someone with a known lipid

condition. With respect to Intelence, Dr. Glatt admitted that a K103N mutation

would justify the off-label use of the medication in treatment-naïve patients. And

even though Dr. Glatt testified that he does not think once-daily Intelence would

be appropriate, he nevertheless conceded that other doctors and studies suggested

appropriate circumstances could exist for precisely such a prescription. (5/21/24

Tr. 2320:15-24, 2524:12-17, 2537:16-2538:7, 2540:13-16, 2545:10-2546:12.)23




23
  At most, Relators have proven that Dr. Glatt might have disagreed with certain
prescriptions in particular cases (though without actually identifying even one
example of such a case). But “a clinical judgment . . . cannot be deemed false, for
purposes of the False Claims Act, when there is only a reasonable disagreement
between medical experts as to the accuracy of that conclusion, with no other
evidence to prove the falsity of the assessment.” United States v. AseraCare, Inc.,
938 F.3d 1278, 1281 (11th Cir. 2019).
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 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1      Filed 08/12/24   Page 45 of 64
                                   PageID: 29400



      Because Relators did not show that it was unreasonable and unnecessary for

any “individual doctor” to prescribe Prezista or Intelence to any “individual

patient” based on the particular “medical circumstances of the individual case,”

Petratos, 855 F.3d at 488-89 (emphases omitted) (citation omitted), they failed to

prove falsity.

             3.    Relators In Any Event Failed To Identify Any Individual
                   Claim.

      To prove a claim under the FCA, a relator must provide “evidence of the

actual submission of a false claim.” Greenfield, 880 F.3d at 98 (citation omitted).

Relators cannot “merely describe a private scheme in detail but then allege that

claims requesting illegal payments must have been submitted, were likely

submitted or should have been submitted to the Government.” Id. (cleaned up).

Thus, “aggregate information reflecting the amount of money expended by

Medicaid on off-label prescriptions [is] insufficient on its own to support a False

Claims Act claim because it [does] not show an actual false claim made to the

Government.” Id. at 99 (cleaned up). That means Relators here had the burden of

“provid[ing] evidence of at least one false claim” submitted for payment to CMS to

satisfy their burden of proof. Id. They have not done so. For this reason, too,

Janssen is entitled to judgment as a matter of law.




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 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1     Filed 08/12/24    Page 46 of 64
                                    PageID: 29401



II.   RELATORS FAILED TO PROVE THEIR STATE-LAW CLAIMS.

      Janssen is entitled to judgment notwithstanding the verdict on Relators’

claims premised on submissions of claims for reimbursement to state Medicaid or

AIDS Drug Assistance Programs (“ADAPs”).24 Indeed, the Court has already

expressed its “concerns about how the state law claims were presented during this

trial.” (6/11/24 Tr. 7906:7-12.) Those concerns are well-founded for at least two

reasons: (1) Relators failed to establish the coverage requirements of any of these

programs; and (2) Relators in any event failed to prove the elements of any of their

claims as to these programs.

      A.     Relators Failed To Establish That Any Medicaid Or ADAP
             Program Would Deny Coverage Of The Prescriptions At Issue.

      As with their federal claim, the premise of Relators’ state-law claims is that

the prescriptions of Prezista and Intelence at issue were not eligible for

reimbursement, which implicates the “conditions for payment” established by the

respective states’ Medicaid and ADAP programs. Petratos, 855 F.3d at 486-87.

But Relators failed even to identify the requirements of these programs, much less

prove them, and for that reason alone, their state-law claims fail as a matter of law.


24
  That includes every claim that Relators brought under state corollaries to the
FCA—statutes enacted by California, Colorado, Connecticut, Delaware, Florida,
Georgia, Hawaii, Illinois, Indiana, Iowa, Louisiana, Maryland, Massachusetts,
Michigan, Minnesota, Montana, Nevada, New Jersey, New Mexico, New York,
North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Virginia, Washington
and the District of Columbia. (Second Am. Compl. at 1, Dkt. 90.)
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 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1      Filed 08/12/24   Page 47 of 64
                                   PageID: 29402



      State Medicaid programs have their own coverage requirements; they are not

bound to copy Medicare. The federal Medicaid statute provides that states “may

exclude or otherwise restrict coverage” of a drug because “the prescribed use is not

for a medically accepted indication.” 42 U.S.C. § 1396r-8(d)(1)(B)(i) (emphasis

added). As noted above (see supra at 34 & n.21), “may” is a discretionary term,

and in a prior case the U.S. government expressly recognized that this language is

permissive in nature, see Solis Br. at 5 n.2 (noting that Medicaid “permits states to

limit coverage” on this basis) (emphasis added). As the federal Medicaid office put

it with respect to HIV drugs specifically in December 1994, “it is within the

discretion of each individual State to establish certain limitations on the provision

of drugs under the boundaries of the drug rebate program.”25

      ADAP likewise imposes no restriction on off-label uses of HIV drugs; it

requires only that states receiving ADAP grants “ensure that the therapeutics

included on the list” of drugs established by HHS “are, at a minimum, the

treatments provided by the State.” 42 U.S.C. § 300ff-26(c)(1) (emphasis added).




25
  Letter from Sally K. Richardson to State Medicaid Director[s] at 1, Dec. 5, 1994,
https://www.medicaid.gov/federal-policy-guidance/downloads/smd120594.pdf
(attached as Ex. 17). The letter is admissible evidence as a public record under Fed.
R. Evid. 803(8). And the Court may take judicial notice of it under Fed. R. Evid.
201(b). See United States v. Kindred Healthcare, Inc., 469 F. Supp. 3d 431, 439
(E.D. Pa. 2020) (“[T]he Court may take judicial notice of public records such as
those issued by CMS.”).
                                          39
 Case 3:12-cv-07758-ZNQ-JBD          Document 473-1       Filed 08/12/24    Page 48 of 64
                                      PageID: 29403



       Thus, to prove falsity under either program, Relators needed to show what

the applicable states’ coverage rules were for the alleged uses of Prezista and

Intelence in this case, but they failed to do so either in briefing or at trial. 26

       No showing at all has been made as to the states’ applicable laws. To the

extent the states’ coverage rules could be construed as a factual question, judgment

as a matter of law should follow as a matter of course because Relators called no

witnesses with knowledge of this question. Instead, their witnesses acknowledged

that state coverage rules varied. (E.g., 5/13/24 Tr. 1088:13-15 (Wilhelm agreeing

that “each individual state has different requirements for what they allow to be paid

under Medicaid”); 5/8/24 Tr. 472:11-473:1 (Strand admitting she does not know

state-specific requirements but acknowledging that they vary from one state to the

next).)

       Relators’ omission is no mere technicality. There is good ground to believe

that most if not all of the states at issue covered off-label prescriptions for HIV

medication during the time period at issue. Relators’ own witness, Donna Graham,

acknowledged that “New York . . . was one of the most generous states” when it

came to reimbursement by Medicaid or ADAP for off-label HIV medications.




26
   For the same reason, as elaborated in Janssen’s new-trial brief, it was erroneous
to instruct the jury that it must find Janssen liable under the state FCAs if it found
Janssen liable under the federal FCA. See New Trial Brief at 27-28.
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 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1      Filed 08/12/24   Page 49 of 64
                                    PageID: 29404



(5/8/24 Tr. 470:3-8.) And by way of further example, a 1994 study reported that, in

response to a survey, more than 30 states indicated that their Medicaid programs

“allow[ed] [HIV] drugs to be used for unlabeled indications.” 27 Only three of the

27 states that responded that they did not cover unlabeled indications—the District

of Columbia, Rhode Island and Texas—are purportedly represented by Relators in

this case.

       In short, the details of the applicable state Medicaid and ADAP coverage

regimes are critical to the question of liability in this case, but Relators provided no

law, and no facts. Courts have repeatedly dismissed claims—as early as at the

pleading stage—where, as here, the relator’s theory is that the defendant caused

submissions of false claims for prescription drugs to state Medicaid programs, but

the relator fails to demonstrate that the state in fact would not cover the

prescriptions at issue. See, e.g., United States ex rel. Schieber v. Holy Redeemer

Healthcare Sys., Inc., No. 19-12675, 2024 WL 1928357, at *8 (D.N.J. Apr. 30,

2024) (dismissing state-law FCA claims as a matter of law where the relator failed

to establish that the alleged conduct involved the submission of information




27
  Robert J. Buchanan & Scott R. Smith, Medicaid Policies for HIV-Related
Prescription Drugs, 15(3) Health Care Fin. Rev. 43 (1994) (attached as Ex. 18).
Janssen relies on this article solely for illustrative purposes, not as substantive
evidence of the applicable Medicaid or ADAP requirements, as to which Janssen
has no burden of proof.
                                          41
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1      Filed 08/12/24    Page 50 of 64
                                    PageID: 29405



“relevant to . . . Medicaid [in] any of the other 26 states and the District of

Columbia”) (alterations in original) (citation omitted); United States ex rel.

Polansky v. Exec. Health Res., Inc., 196 F. Supp. 3d 477, 506 (E.D. Pa. 2016)

(similar); Carson v. Select Rehab., Inc., No. 15-5708, 2023 WL 5339605, at *21

(E.D. Pa. Aug. 18, 2023) (similar); United States ex rel. Banigan v. Organon USA

Inc., 883 F. Supp. 2d 277, 295 (D. Mass. 2012) (state FCA claims failed as a

matter of law where relators did not establish that off-label prescriptions would not

be paid by state Medicaid programs at issue), reversed on other grounds by United

States ex rel. Banigan v. PharMerica, Inc., 950 F.3d 134 (1st Cir. 2020). For

identical reasons, Janssen is entitled to judgment notwithstanding the verdict on the

state claims here.

      B.     Relators Failed To Prove Their State-Law Claims For Several
             Additional Reasons.

      Even assuming that each state’s Medicaid and ADAP programs adopted

coverage requirements identical to Medicare, Relators’ state-law claims also fail

for the reasons set forth with respect to their federal claims above: they failed to

proffer sufficient evidence to prove causation, materiality or falsity. (See § I,

supra.) Cf. United States ex rel. Travis v. Gilead Scis., Inc., 596 F. Supp. 3d 522,

543 n.159 (E.D. Pa. 2022) (State and federal claims “succeed or fall together”

where “no party has alleged a material difference between the standards applicable

to the FCA and equivalent state laws.”).

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 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1       Filed 08/12/24   Page 51 of 64
                                    PageID: 29406



       For these reasons, too, Janssen is entitled to judgment as a matter of law on

Relators’ Medicaid and ADAP claims.

III.   THE EVIDENCE DOES NOT SUPPORT THE VERDICT ON THE
       NUMBER OF CLAIMS OR DAMAGES.

       Janssen is also entitled to judgment notwithstanding the verdict on the

number of claims and the amount of damages for at least four reasons: (1)

Relators’ damages model was based on the wrong measure of damages; (2)

Relators’ damages model was based on assumptions they failed to prove at trial;

(3) the number of claims and amount of damages found by the jury were arbitrary

and have no basis in the evidence; and (4) at a minimum, in the event the Court

holds that Relators’ state-law claims fail as a matter of law, there is no way to

determine the amount of federal damages or the number of federal false claims the

jury found because of the nature of the verdict form.

       A.    Relators Failed To Prove That The Government Lost The Benefit
             Of Its Bargain.

       In an FCA case, “the damages are essentially similar to those sustained when

a defective article is purchased in a fraudulent transaction. In those instances,

decisional law sets the damages as the difference in cost between that contracted

for and that received.” United States v. Hibbs, 568 F.2d 347, 351 (3d Cir. 1977)

(emphasis added). As courts have explained, “False Claims Act damages are meant

to ‘put[] the government in the same position as it would have been if the


                                          43
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1      Filed 08/12/24   Page 52 of 64
                                   PageID: 29407



defendant’s claims had not been false.’” United States ex rel. Davis v. District of

Columbia, 679 F.3d 832, 839 (D.C. Cir. 2012) (alteration in original) (citation

omitted). “Thus, ‘[t]o establish damages, the government must show not only that

the defendant’s false claims caused the government to make payments that it

would have otherwise withheld, but also that the performance the government

received was worth less than what it believed it had purchased.’” Id. (alteration in

original) (citation omitted).

      Contrary to this precedent, Relators argued that the government is entitled to

a full refund as a matter of course, and their proffered damages model is inalterably

premised on this assumption. This argument fails as a matter of law.28

      First, Relators’ contention that they are entitled to seek a complete refund of

what the government paid under the FCA is wrong. They ignore the general rule of

lost value reflected in the Third Circuit’s ruling in Hibbs and instead rely on

inapposite cases in which “there [was] no tangible benefit to the government and

the intangible benefit [was] impossible to calculate.” United States ex rel. Longhi

v. Lithium Power Techs., Inc., 575 F.3d 458, 473 (5th Cir. 2009) (cited in Rels.’

Trial Br. (“RTB”) at 34 n.26, 35 n.27, Dkt. 351). This exception is limited to



28
  For the same reason, as elaborated in Janssen’s new-trial brief, the instruction to
the jury on damages was erroneous because it told the jury that the proper measure
of damages was the “full amount paid” by the government. See New Trial Brief at
29-32.
                                          44
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1       Filed 08/12/24   Page 53 of 64
                                    PageID: 29408



situations where, for example, “the government had doled out grant monies

directly to third-parties for specified, ‘intangible’ research projects, but the

awardees had failed to effectuate that research.” United States ex rel. Concilio De

Salud Integral De Loiza, Inc. v. J.C. Remodeling, Inc., 962 F.3d 34, 43-44 (1st Cir.

2020) (citing Longhi, 575 F.3d at 473 and United States ex rel. Feldman v. van

Gorp, 697 F.3d 78, 86-87 (2d Cir. 2012) (cited in RTB at 34 n.26)). In such cases,

“the government was out of a fixed sum of money with nothing at all in return and

therefore the courts found that recompense of the full contract price was all that

could make the government whole.” Id. at 44 (emphasis added).

      In truth, these cases are simply a specific application of the general rule

about lost value: the government paid for something but received nothing

measurable, meaning that the difference between the price paid and the value

received was the entire payment. But that is not the case here, where the

government paid for Prezista and Intelence, which provided effective treatment for

patients with HIV. Relators did not meet their burden of proving actual damages

by showing that the government paid for something “valueless,” such as “research

that was never consummated.” Concilio De Salud, 962 F.3d at 43-44 (citation

omitted). Accordingly, their claim to recover the entire price of what was paid for

Prezista and Intelence must be rejected.




                                           45
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1      Filed 08/12/24   Page 54 of 64
                                   PageID: 29409



      Second, Relators’ argument that the government received no value here

because the medications it purchases are not sent to the government itself also

lacks merit. The medications went to patients whose doctors determined they were

medically necessary—precisely the third-party benefit for which the government

paid. In similar circumstances, courts have upheld the application of the general

rule that damages are equal to the difference in value (if any) rather than a

complete refund. See, e.g., United States v. Killough, 848 F.2d 1523, 1532 (11th

Cir. 1988) (holding that the appropriate measure of damages was the difference

between what the government paid and “the fair market value . . . of the goods or

services provided” to the state of Alabama, even though the federal Government

was not the recipient of the goods or services). The same rule applies here. Indeed,

the uncontroverted record evidence showed that Prezista was priced at parity with

its competitor drugs, demonstrating that the government paid fair market value for

the goods provided. See supra at 21. Because Relators failed to proffer any

evidence on the question of lost value, the jury’s damages finding lacks a proper

evidentiary basis.

      B.     Relators’ Damages Model Is Not Substantial Evidence Because Its
             Assumptions Were Disproven By Relators’ Own Witnesses.

      Relators also failed to prove damages and alleged number of false claims

because the evidence they proffered was unreliable and lacked factual basis.

Specifically, as detailed in Janssen’s motion to strike the testimony of Shaked and

                                          46
 Case 3:12-cv-07758-ZNQ-JBD          Document 473-1    Filed 08/12/24   Page 55 of 64
                                      PageID: 29410



Ian Dew (Dkt. 402), Relators’ damages experts’ calculations relied on several

expansive factual assumptions that Relators did not prove at trial. And even when

they relied on actual data, significant limitations rendered it unreliable. (See

5/31/24 Tr. 5294:18-5295:13 (Dew testifying that he could not identify in the

pharmacy data which claims were private insurance versus government, and some

of the data did not have any dates).) Because no jury could accept Shaked or

Dew’s calculations based on the factual record in this case, Relators had no

admissible damages evidence, and for this reason too, Relators have failed to prove

any damages or the number of false claims as a matter of law.

      C.     The Jury’s Finding On The Number Of False Claims And The
             Amount Of Damages Was Arbitrary And Unsupported.

      Regardless of the sufficiency of Shaked’s damages model, it is clear that the

jury rejected it and substituted its own, arbitrary assessment of the number of false

claims (159,574) and amount of damages ($120,004,736 under the federal FCA

and $30,001,184 under state FCAs). (See Verdict Form at 2, 4-5, Dkt. 435.) These

findings lack evidentiary support.

      Where a jury plainly rejects a damages expert’s proposed damages amount,

it may not simply “reduce the figures to reflect only compensable losses” in the

absence of a “reduction formula prepared by an expert” to guide such an exercise.

See R.S.E., Inc. v. Pennsy Supply, Inc., 523 F. Supp. 954, 970 (M.D. Pa. 1981)

(citing Coleman Motor Co. v Chrysler Corp., 525 F.2d 1338 (3d Cir. 1975)). In

                                           47
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1      Filed 08/12/24   Page 56 of 64
                                   PageID: 29411



such circumstances, a jury cannot support an alternative damages amount “without

resorting to guesswork or speculation.” Id. at 971. Any damages amount found by

a jury in this fashion must be set aside and judgment granted to the defendant

notwithstanding the verdict. See id. at 971-72.

      That is the case here, and the logic of R.S.E. applies both to the jury’s

finding on damages and its finding of the number of false claims. Shaked

suggested total damages amounts of either $446.7 million or $361.9 million for

off-label claims, reflecting either 593,996 or 481,265 allegedly false claims,

respectively. (See 6/3/24 Tr. 5484:23-5485:15, 5493:14-25.) He also enumerated

damages estimates specific to each of Relators’ theories of improper promotion:

$414.3 million for lipids; $1.9 million for Prezista treatment-naïve; $32.4 million

for Intelence once-daily; and $16.4 million for Intelence treatment-naïve. (Id.

5487:18-5489:13.)

      But the jury did not select any one (or any combination) of these amounts.

Instead, it selected entirely different numbers: $150,005,920 in total damages, and

159,574 claims. (See Verdict Form at 2, 4-5, Dkt. 435.) There is no discernible

connection between the jury’s findings and any estimate provided by Shaked. Nor

did Shaked furnish the jury with any “reduction formula” by which it could have

derived these findings from the estimates Shaked provided. As a result, the jury’s




                                         48
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1      Filed 08/12/24   Page 57 of 64
                                   PageID: 29412



findings on the amount of damages and the number of claims rests on “guesswork

or speculation” and cannot be sustained. R.S.E., 523 F. Supp. at 970-72.

      D.     At A Minimum, The Jury’s Findings On Federal Damages And
             The Number Of Claims Cannot Be Sustained.

      Alternatively, and at a minimum, the Court should vacate the jury’s finding

as to the amount of federal damages and the number of false claims. As the Court

forecast right before closing, Relators’ insistence on a verdict form that did not

allow the jury “to allocate damages to each state, . . . to make a determination as to

the number of false claims per state,” or even “to determine the number of false

claims for the states as a group” has caused “a greater issue.” (6/11/24 Tr. 7906:13-

25.) Because Relators’ state-law claims fail as a matter of law for the reasons set

forth in § II, supra, the jury’s finding of the number of claims cannot be sustained

because it includes federal and state claims, with no basis in the record to

disaggregate them. That failure poses an insurmountable problem for the Court’s

calculation of the required civil penalties. See 31 U.S.C. § 3729. And its “federal”

damages finding also cannot be sustained because it comprises payments not only

by Medicare but also by ADAP and (to the extent of the federal portion) Medicaid,

which similarly cannot be separated out based on any evidence in the record.

      “The general rule is that one of two or more issues submitted to the jury was

submitted erroneously, a general verdict cannot stand.” Morrison Knudsen Corp. v.

Firemen’s Fund Ins. Co., 175 F.3d 1221, 1256 n.45 (10th Cir. 1999). That is what

                                          49
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1       Filed 08/12/24   Page 58 of 64
                                   PageID: 29413



happened here. At Relators’ insistence, no separate amount for ADAP damages

was provided on the verdict form. Over Janssen’s objection, no separate blank was

provided to the jury to distinguish between alleged false claims presented to

Medicare from those allegedly presented to state payors. (See Verdict Form at 2, 4-

5; see also 6/11/24 Tr. 7901:3-21, 7904:13-17, 7949:5-12.) Instead, Relators’

counsel insisted on combining damages amounts for Medicare, ADAP and the

federal portion of Medicaid because it “all goes back to the United States,” and that

one blank for claims would suffice to encompass “ADAP, Medicaid, Medicare.”

(Id. 7904:6-8, 7949:13-16.)

      As a result, in light of its return of verdict for Relators on both federal and

state claims, the jury’s finding of $120,004,736 in federal damages constitutes an

unknown combination of dollars paid by Medicare, Medicaid and ADAP, and its

finding of 159,574 claims constitutes an unknown combination of claims made to

those payors. There is now no way to “reverse engineer” the jury’s finding and

separate the federal and state damages or claims to isolate the federal damages or

number of claims. (Id. 7951:1-6.) Indeed, the jury specifically asked for help on

this issue during deliberations because it was “unable to locate [Shaked’s]

testimony or any exhibit associated that testimony[]” “detailing the number of

federal versus individual state claims.” (Id. 8311:8-13.) For this reason, in the

event the Court determines that Janssen is entitled to judgment as a matter of law

                                          50
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1     Filed 08/12/24    Page 59 of 64
                                    PageID: 29414



as to Relators’ state-law claims—or even if the Court agrees with Janssen that

Relators failed to prove just one of its state-law claims—it should also reject the

jury’s finding as to the federal damages and number of claims because there is no

evidentiary basis for these quantities and no evidence in the record that would

support any other numbers in their place.

IV.   RELATORS’ CLAIMS ALSO FAIL BECAUSE THEY ARE BARRED
      FOR MULTIPLE REASONS.

      A.     The FCA’s Government-Action And Public-Disclosure Bars
             Foreclose Relators’ Claims.

      Janssen is also entitled to judgment as a matter of law on Relators’ claims

because the evidence at trial established that the FCA’s government-action and

public-disclosure bars apply in light of the 2010 CIA.

      First, the government-action bar forecloses qui tam suits that are “based

upon allegations or transactions which are the subject of . . . an administrative civil

money penalty proceeding in which the Government is already a party.” 31 U.S.C.

§ 3730(e)(3) (emphasis added). The government-action bar precludes Relators’

claims because of the prior FCA action and resulting 2010 CIA. See United States

ex rel. Bennett v. Biotronik, Inc., 876 F.3d 1011, 1021 (9th Cir. 2017) (prior settled

intervened FCA suit for similar allegedly conduct triggers bar). Like this case, the

one giving rise to the 2010 CIA focused on off-label marketing—a parallel

Relators stressed repeatedly at trial. And there is no question that CIA’s provisions


                                          51
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1     Filed 08/12/24   Page 60 of 64
                                    PageID: 29415



included Prezista and Intelence in its scope and afford the government the option to

seek stipulated penalties in the event it believed Janssen was engaged in off-label

marketing of these drugs. (See RX-423, §§ II.A, II.C.3-5, VII, X.A, X.A.1.)

      In short, the prior FCA suit and resulting 2010 CIA created an ongoing

proceeding in which the HHS-OIG was looking for and could have penalized

Janssen for the conduct that is the focus of Relators’ allegations here. For that

reason, the government-action bar applies and bars all of Relators’ claims.

      Second, the public-disclosure bar also forecloses Relators’ claims. This bar

applies when substantially the same allegations or transactions of the claimed fraud

were publicly disclosed through statutorily identified sources, at least where the

relator is not an original source of the information and does not materially add to

publicly disclosed information. See United States ex rel. Moore & Co., P.A. v.

Majestic Blue Fisheries, LLC, 812 F.3d 294, 299, 304-05 (3d Cir. 2016) (citation

omitted).

      The bar was held to apply in similar circumstances by the Sixth Circuit in

Maur, 981 F.3d 516. There, as here, the defendant was subject to a CIA arising

from a prior FCA action, which “undoubtedly qualifies as a” relevant public

disclosure. Id. at 522. The Relators in that case sought to circumvent the bar in part

by arguing that their evidence was not “substantially the same” as the previously

disclosed alleged fraud but the Court rejected this argument, explaining that new

                                          52
 Case 3:12-cv-07758-ZNQ-JBD       Document 473-1      Filed 08/12/24   Page 61 of 64
                                   PageID: 29416



evidence of fraud is substantially the same as long as the prior disclosure “put the

government on notice of the fraud alleged.” Id. at 526 (cleaned up). This is so even

when the relator “adds new details to describe essentially the same scheme,” or

when the new details suggest a broader dimension to the previously alleged fraud.

Id. (cleaned up). For similar reasons, the Court also rejected the relator’s argument

that he was an original source by virtue of adding materially to previously

disclosed information, explaining that by virtue of the governments ongoing

oversight under the CIA, “it can be assumed that the government would be aware if

the fraudulent scheme continued or was restarted.” Id. at 528 (cleaned up).

      The same is true here. The 2010 CIA imposed oversight specifically as to

off-label marketing, as to all Janssen drugs. (See RX-423, § II.C.3-5; see also

5/28/24 Tr. 3868:37 (“Q. And so the very products and the very programs, like

speaker programs, that are at issue here in this lawsuit were part of that corporate

integrity agreement. Correct, ma’am? A. That is right.”).) Its purpose was to

prevent off-label or kickback schemes of the sort alleged by Relators, prompted by

the government’s conclusion that such conduct had occurred in connection with

some of Janssen’s other products. As in Maur, Relators merely attempt to

“provid[e] additional instances of the same type of fraud during the oversight

period.” 981 F.3d at 528. Accordingly, their claims are also foreclosed under the

government-disclosure bar.

                                          53
 Case 3:12-cv-07758-ZNQ-JBD         Document 473-1      Filed 08/12/24   Page 62 of 64
                                     PageID: 29417



      B.     Relators’ Claims Are Constitutionally Barred.

      Finally, Relators’ claims are also barred as a constitutional matter. Multiple

Supreme Court Justices have noted that “[t]here are substantial arguments that the

[False Claim Act’s] qui tam device is inconsistent with Article II.” United States ex

rel. Polansky v. Exec. Health Res., Inc., 599 U.S. 419, 442 (2023) (Kavanaugh, J.,

concurring) (first alteration in original). That is because FCA relators exercise

executive power in pursuing claims on behalf of the government. See id. at 449-50

(Thomas, J., dissenting).

      “To the extent that delegation of executive power to a private entity outside

the government is permissible at all, it is permissible only if that entity ‘is

adequately subject to Presidential control.’” Consumers’ Rsch., Cause Based Com.,

Inc. v. Fed. Commc’ns Comm’n, 88 F.4th 917, 937 (11th Cir. 2023) (emphasis

added) (citing Dep’t of Transp. v. Ass’n of Am. Railroads, 575 U.S. 43, 91 (2015)),

cert. denied. Applying this concept, the Supreme Court has developed a “sufficient

control” test, under which relevant considerations include the ability of the

President to remove the entity exercising executive power; the limitations on the

appointment of such entities; whether they must abide by Department of Justice

policy, and whether the entity may exert its powers against only public defendants

or also private, the latter giving rise to greater concern. See Morrison v. Olson, 487

U.S. 654, 696 (1988).


                                           54
 Case 3:12-cv-07758-ZNQ-JBD        Document 473-1      Filed 08/12/24    Page 63 of 64
                                    PageID: 29418



      The FCA does not impose sufficient control on the exercise of executive

power by private relators in a non-intervened case. The government imposes no

limitation on the scope of a relator’s lawsuit; the relator is not required to adhere to

Department of Justice policy 29; a relator exercises the government’s power against

private actors; and a relator may not be “removed” in the traditional sense. The

FCA thus fails to require or even permit “sufficient control” over private relators in

declined cases. As a result, the FCA is unconstitutional as applied in this case, and

the Court should grant judgment as a matter of law on this ground as well.

                                   CONCLUSION

      In light of Relators’ fundamental failure of proof on several elements of their

claims, and for the other reasons detailed above, the Court should grant Janssen

judgment as a matter of law.




29
  Indeed, the Department itself has recognized that qui tam relators can act, and
have acted, contrary to the public interest when wielding executive power in
instituting actions on the government’s behalf. Memorandum from Michael
Granston, Dir., Commercial Lit. Branch, Fraud Div., Factors for Evaluating
Dismissal Pursuant to 31 U.S.C. 3730(c)(2)(A) (Jan. 10, 2018) (attached as Ex.
19); see also Memorandum Op. for the Att’y Gen. from William P. Barr, Assistant
Att’y Gen., Off. of Legal Couns., Constitutionality of the Qui Tam Provisions of
the False Claims Act 207-08, 217-18 (Jul. 18, 1989) (observing that a “relator is
empowered to prosecute the government’s claim even when the Attorney General
has determined that there is no valid claim or that pursuing the suit is not in the
interests of the United States”) (attached as Ex. 20).
                                          55
 Case 3:12-cv-07758-ZNQ-JBD   Document 473-1   Filed 08/12/24   Page 64 of 64
                               PageID: 29419



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                                    56
